            Case 1:20-cv-02456-MJM Document 66 Filed 02/27/23 Page 1 of 3



                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

MOTION IN LIMINE TO EXCLUDE STATUS OF SID SAAB AND BRIAN CHISHOLM
         AS MEMBERS OF THE MARYLAND GENERAL ASSEMBLY

       NOW COMES Defendant 331B, LLC, d/b/a: Rockwell Fitness (“Rockwell”) by and

through its counsel, Jason C. Buckel, T. Lee Beeman, Jr., and Buckel, Levasseur, Pillai &

Beeman, LLC, and, pursuant to the Federal Rules of Evidence, seeks to exclude from the jury

evidence that Sid Saab and Brian Chisholm are members, either current or past, of the Maryland

General Assembly, and in support thereof, states the following:

       1.       Sid A. Saab (“Saab”) served as a member of the House of Delegates in the

Maryland General Assembly between January 14, 2015 and January 11, 2023, representing

House District 33.

       2.       Brian A. Chisholm (“Chisholm”) has served as a member of the House of

Delegates in the Maryland General Assembly since January 9, 2019, representing House District

31B until January 11, 2023 and House District 31 since January 11, 2023.

       3.       Sid A. Saab and Brian A. Chisholm are the owners of 331B, LLC, d/b/a:

Rockwell Fitness.




                                                1
            Case 1:20-cv-02456-MJM Document 66 Filed 02/27/23 Page 2 of 3



       4.       For the reasons outlined in the attached Memorandum of Law in Support of

Defendant’s Motion in Limine to Exclude Status of Sid Saab and Brian Chisholm as Members of

the Maryland General Assembly (“Memorandum”), Saab and Chisholm’s status as members of

the Maryland General Assembly is irrelevant to this matter. Fed. R. Evid. 401.

       5.       For the reasons outlined in the Memorandum, Saab and Chisholm’s status as

members of the Maryland General Assembly should be excluded. Fed. R. Evid. 402.

       6.       For the reasons outlined in the Memorandum, the limited probative value, if any,

regarding Saab and Chisholm’s status as members of the Maryland General Assembly is

substantially outweighed by a danger of unfair prejudice or jury confusion and should be

excluded. Fed. R. Evid. 403.

       WHEREAS, Defendant 331B, LLC hereby moves this Court, pursuant to the Federal

Rules of Evidence to exclude Sid Saab and Brian Chisholm’s status as members of the Maryland

General Assembly and for such further relief as this Court deems necessary and just.




                                                       Respectfully submitted,


                                                           /s/
                                                       Jason C. Buckel, Bar Number: 24766
                                                       T. Lee Beeman, Jr., Bar Number: 19613
                                                       Buckel, Levasseur,
                                                       Pillai & Beeman, LLC
                                                       206 Washington, Street
                                                       Cumberland, Maryland 21502
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                                                       Counsel for Defendant




                                                2
         Case 1:20-cv-02456-MJM Document 66 Filed 02/27/23 Page 3 of 3



                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 27th day of February, 2023, a true and correct copy of
the foregoing was served by e-mail on the following:

       Sundeep Hora (Bar. No. 28208) (shora@adhlawfirm.com)
       Emma Eckert (eEckert@adhlawfirm.com)


                                                         /s/
                                                  By: T. Lee Beeman, Jr., Bar No. 19613




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